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 Vanessa Bryant, a California resident                               County of Los Angeles, a public entity; Los Angeles County
                                                                     Sheriff's Department, a public entity; and Alex Villanueva, as
                                                                     Sheriff of the County of Los Angeles and as an individual
                                            Los Angeles                                                            Los Angeles




 Luis Li, Craig Jennings Lavoie, Mari T. Saigal                      Louis R. Miller, Mira Hashmall, Emily A. Rodriguez-Sanchirico
 MUNGER, TOLLES & OLSON LLP                                          MILLER BARONDESS, LLP
 350 S. Grand Avenue, 50th Fl., Los Angeles, CA 90071-3426           1999 Avenue of the Stars, Suite 1000, Los Angeles, CA 90067



                            X




                X

                                                 X
                                             X                   X                                             Not specified

Violation of Fourteenth Amendment (42 U.S.C. § 1983)




                                                             X
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                                                                X




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                  /s/ Mira Hashmall                            October 19, 2020
